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                     EXHIBIT 19
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          Work smarter with Webex
           Your employees, customers, and partners need the ability to connect
           and collaborate, at any time, from any location—across time zones or
           simply across the table.

           And those workplaces are expanding faster than ever, powered
           by mobile and cloud usage that makes virtual meetings essential.
           With secure, smart, and scalable voice, video, and content sharing,
           real-time collaboration can happen anywhere.

           Staying connected can lead to improved productivity and faster
           decision making, as well as better customer service. But only if the
           technology offers a seamless experience and is intuitive enough
           to drive user adoption.                                                                      The Cisco Webex conferencing
           While the need for better meetings is universal, not all                                     solution makes working
           meeting services are the same.                                                               together what it should be:
                                                                                                        easy and intuitive.
           Choosing the wrong tool could actually decrease productivity by
           wasting valuable meeting time troubleshooting the technology, or by                          Teams can work faster,
           providing a negative experience that will deter users from embracing
           the service. This is especially true in situations where poor meeting                        smarter, and more effectively
           quality could impact company perceptions and image.                                          than ever, while providing the
                                                                                                        peace of mind that solution
                                                                                                        administrators want.

2   Message | Call | Meet | Whiteboard | Files | Tasks | Webex Meetings | Webex Teams | Webex Devices




                                                           CISCO-PAL-00000662                                                        2
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